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 5
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 6 United States of America

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:16-MJ-00173 CKD
11
                                  Plaintiff,             STIPULATION AND [PROPOSED] ORDER FOR
12                                                       EXTENSION OF TIME FOR PRELIMINARY
                            v.                           HEARING PURSUANT TO RULE 5.1(d) AND
13                                                       EXCLUSION OF TIME
     LEONARD YANG,
14   ZHONGZHANG YANG, AND                                DATE: SEPTEMBER 29, 2016
     CHENGCHUN XIE,                                      TIME: 2:00 p.m.
15                                                       COURT: Hon. Edmund F. Brennan
                                  Defendants.
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            Plaintiff United States of America, by and through its attorney of record, Assistant United States
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     Attorney ROGER YANG, and defendants LEONARD YANG, ZHONGZHANG YANG, and
19
     CHENGCHUN XIE, both individually and by and through his counsel of record, N. ALLEN SAWYER,
20
     MICHAEL HANSEN, and JESSICA GRAVES, hereby stipulate as follows:
21
            1.      The Complaint in this case was filed on September 15, 2016, and defendant first appeared
22
     before a judicial officer of the Court in which the charges in this case were pending on September 15,
23
     2016. The court set a preliminary hearing date of SEPTEMBER 29, 2016.
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            2.      The parties have been informed that the Mandarin Chinese language interpreter is not
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     available on September 29, 2016 and will not be available until October 6, 2016. The Mandarin Chinese
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     language interpreter is necessary for defense counsel to communicate with their clients, and for the
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     defendants to communicate with the Court.
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            3.      By this stipulation, the parties jointly move for an extension of time of the preliminary
      STIPULATION AND [PROPOSED] ORDER                   1
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 1 hearing date to October 6, 2016, at 2:00 p.m., before the duty Magistrate Judge, pursuant to Rule 5.1(d)

 2 of the Federal Rules of Criminal Procedure. In the event that the grand jury returns an Indictment against

 3 the defendants, the parties waive time for an arraignment pursuant to Rule 10(a) of the Federal Rules of

 4 Criminal Procedure until October 6, 2016. The parties stipulate that the delay is required to allow the

 5 defense reasonable time for preparation, to allow for the availability of the Mandarin language

 6 interpreter, and for the government’s continuing investigation of the case. The parties further agree that

 7 the interests of justice served by granting this continuance outweigh the best interests of the public and

 8 the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

 9          4.      The parties agree that good cause exists for the extension of time, and that the extension

10 of time would not adversely affect the public interest in the prompt disposition of criminal cases.

11 Therefore, the parties request that the time between SEPTEMBER 29, 2016, and October 6, 2016, be

12 excluded pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4.

13          IT IS SO STIPULATED.

14
     Dated: September 29, 2016                               PHILLIP A. TALBERT
15                                                           Acting United States Attorney
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                                                             /s/ ROGER YANG
17                                                           ROGER YANG
                                                             Assistant United States Attorney
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19
     Dated: September 29, 2016                               /s/ N. ALLEN SAWYER
20                                                           N. ALLEN SAWYER
21                                                           Counsel for Defendant
                                                             LEONARD YANG
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23 Dated: September 29, 2016                                 /s/ MICHAEL E. HANSEN
                                                             MICHAEL E. HANSEN
24                                                           Counsel for Defendant
                                                             ZHANGZHONG YANG
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26 Dated: September 29, 2016                                 /s/ JESSICA GRAVES
27                                                           JESSICA GRAVES
                                                             Counsel for Defendant
28                                                           CHENGCHUN XIE

      STIPULATION AND [PROPOSED] ORDER                   2
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 1         THEREFORE, FOR GOOD CAUSE SHOWN:

 2         1. The date of the preliminary hearing is extended to October 6, 2016, at 2:00 p.m.

 3         2. The time between SEPTEMBER 29, 2016, and October 6, 2016, shall be excluded from

 4 calculation pursuant to 18 U.S.C. § 3161(h)(7)(A).

 5         3. Defendants shall appear at that date and time before the Magistrate Judge on duty.

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 7         IT IS SO ORDERED.

 8 Dated: September 29, 2016
                                                            The Honorable Edmund F. Brennan
 9                                                          UNITED STATES MAGISTRATE JUDGE
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      STIPULATION AND [PROPOSED] ORDER                  3
